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EXHIBIT 17
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Fexnipit 22

bw ACRAE NS. |
P DATE:

From: Aimee M. Giglio [Aimee.M.Giglio@hitchcock.org] | sunnie Donath, RPR,LCR |
Sent: 5/2/2017 8:22:05 AM ee
To: Edward J. Merrens [Edward.J.Merrens@hitchcock.org]

ce: John P. Kacavas (John.P.Kacavas@hitchcock.org]; Kimberly E. Troland (Kimberly.£. Troland@hitchcock. org]

Subject: RE: REI

Thank you! Happy to come in for this meeting. Let’s discuss this morning. | appreciate your candor and recognition of
the issues. PR here is very sensitive — goes without saying. We will need to manage internal vs. external messaging and
issues,

Aimee

From: Edward J. Merrens

Sent: Tuesday, May 02, 2017 8:20 AM

To: Aimee M. Giglio <Aimee.M.Giglio@hitchcock.org>

Ce: John P. Kacavas John.P.Kacavas@hitchcock.org>; Kimberly E. Troland <Kimberly.E, Troland@hitchcock.org>
Subject: RE: REI

Aimee,

I'm meeting with Rich and Duane tomorrow at 6am to discuss.
You are welcome to call in if you’d like or | can fill you in afterwards

While on the surface we are pinning the dissolution of our reproductive endocrinology program on our failure to
maintain and recruit nurses for this work, it is ultimately the dysfunction of the physicians who worked in this area for
years (as well as recent hires) and ultimately a failure of leadership, for which | hold Leslie fully accountable.

The fact that failures of such programs due to nursing shortages are not common and we'll be referring patients to a
similar, rural academic REI center in Burlington Vermont, will make our explanation to the public, patients and the
media, well, rather thin.

Happy to discuss with all of you in more detail

Ed

From: Aimee M. Giglio

Sent: Monday, May 01, 2017 10:05 PM

To: Edward J, Merrens <Edward.Jj.Merrens@hitchcock.org>; Kimberly E. Troland <Kimberly.E.Troland@hitchcock.org>
Ce: John P. Kacavas <John.P.Kacavas @hitchcock.org>

Subject: RE: REI

Thank you Ed.

We spent extensive time with her and Daniel this evening.
i'd like to talk with you about her leadership and next steps.
Let’s connect in am,

Aimee

From: Edward J. Merrens
Sent: Monday, May 01, 2017 10:02 PM
To: Kimberly E. Troland <Kimberly.E.Troland@hitchcock.org>

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Ce: John P. Kacavas <John.P.Kacavas@hitchcock.org>; Aimee M. Giglio <Aimee.M.Giglio@hitchcock.org>
Subject: Re: RE!

Edward J. Merrens, MD, MS

Chief Clinical Officer | Dartmouth-Hitchcock

One Medical Center Drive, Lebanon, New Hampshire, 03756 USA

(603) 650-8960 | edward.j. merrens@hitchcock. org | dartmouth-hitchcock.org

On May 1, 2017, at 9:45 PM, Kimberly E. Troland <Kimberly.E. Troland@hitchcock.org> wrote:

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